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                                                            GIGANEWS, INC., and
                                                          9 LIVEWIRE SERVICES, INC.
                                                         10                       UNITED STATES DISTRICT COURT
                                                         11                      CENTRAL DISTRICT OF CALIFORNIA
                                                         12                              WESTERN DIVISION
F ENWICK & W ES T LLP




                                                            PERFECT 10, INC., a California        Case No.: 11-cv-07098-ABC (SHx)
                        LAW




                                                         13 corporation,
                                      SAN FRA NCI S CO
                         AT




                                                                                                  DISCOVERY MATTER
                        ATTO RNEY S




                                                         14                 Plaintiff,            Before Hon. Stephen J. Hillman
                                                         15        v.                             [PROPOSED] ORDER GRANTING
                                                                                                  DEFENDANTS GIGANEWS, INC.
                                                         16 GIGANEWS, INC., a Texas Corporation; AND LIVEWIRE INC.’S MOTION
                                                            LIVEWIRE SERVICES, INC., a Nevada TO COMPEL RESPONSES TO
                                                         17 corporation; and DOES 1 through 100,  INTERROGATORIES AND
                                                            inclusive,                            PRODUCTION OF DOCUMENTS
                                                         18
                                                                            Defendants.           Date:        April 28, 2014
                                                         19
                                                                                                  Time:        2:00 P.M.
                                                         20 GIGANEWS, INC., a Texas Corporation; Courtroom: 550 (Roybal)
                                                         21 LIVEWIRE
                                                            Corporation,
                                                                         SERVICES, INC., a Nevada Discovery Cut-off: June 30, 2014
                                                                                                  Pretrial Conference: January 19, 2015
                                                         22                 Counterclaimants,     Trial Date: January 27, 2015
                                                         23        v.
                                                         24 PERFECT 10, INC., a California
                                                         25 Corporation,
                                                         26              Counterdefendant.

                                                         27
                                                         28   [PROPOSED] ORDER GRANTING
                                                              DEFENDANTS’ MOTION TO COMPEL
                                                                                                                CASE NO. 11-cv-07098-ABC (SHx)
                                                              RESPONSES TO INTERROGATORIES AND
                                                              PRODUCTION OF DOCUMENTS
                                Case 2:11-cv-07098-AB-JPR Document 234-1 Filed 04/07/14 Page 2 of 2 Page ID #:9664



                                                          1         Having considered the Joint Stipulation on Giganews, Inc.’s and Livewire
                                                          2 Services, Inc. (“Defendants”) Motion to Compel Responses to Interrogatories and
                                                          3 Production of Documents, and good cause appearing therefor, the Court hereby
                                                          4 GRANTS the motion:
                                                          5         Plaintiff Perfect 10 (“Plaintiff”) shall: (1) serve complete written responses to
                                                          6 the First Set of Interrogatories (Interrogatory Nos. 1-6) and (2) search for and
                                                          7 produce documents in response to the Second Set of Requests for Production
                                                          8 (Request Nos. 4-20, 23-68, 70-78), within fourteen (14) days of this order.
                                                          9
                                                         10
                                                         11 IT IS SO ORDERED.
                                                         12
F ENWICK & W ES T LLP
                        LAW




                                                         13 Dated: April____, 2014            By: _____________________________
                                      SAN FRA NCI S CO
                         AT
                        ATTO RNEY S




                                                         14                                                       Stephen J. Hillman
                                                         15                                                 United States Magistrate Judge
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                                                         28   [PROPOSED] ORDER GRANTING
                                                              DEFENDANTS’ MOTION TO COMPEL
                                                              RESPONSES TO INTERROGATORIES AND          1                CASE NO. 11-cv-07098-ABC (SHx)
                                                              PRODUCTION OF DOCUMENTS
